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KRANDS FILED
\ IN THE UNITED STATES DISTRICT COURT
Or FOR THE NORTHERN DISTRICT OF JEXAS MAY 2 9 00
DALLAS DIVISION
CLERK, U.S. DISTRICT COURT
KEITH B. BURKINS, § By
Plaintiff, § vy
: Shed
Vv. § CIVIL ACTION NO. 3:00-CV*2377-L
§
ROGER A. RUDLOFF, et al., §
Defendants. §

ORIGINAL ANSWER AND JURY DEMAND OF DEFENDANT ROGER A. RUDLOFF
TO THE HONORABLE JUDGE OF SAID COURT:

Defendant Roger A. Rudloff (“Defendant”) submits the following Original
Answer and Jury Demand in response to Plaintiff’s Original Complaint (“Plaintiff’s
Complaint”):

I.

1. Defendant admits the allegations in Section A of Paragraph V “Parties to
This Suit” of Plaintiff’s Complaint.

2. Defendant admits that he has been named as a defendant in this lawsuit as
alleged in Section B of Paragraph V “Parties to This Suit” of Plaintiff's Complaint.
Defendant denies the remaining allegations in Section B as to the alleged actions of
Defendant. Defendant admits that Plaintiff has also named Chief Terrell Bolton as a
defendant in this action. Defendant denies that Chief Bolton violated Plaintiff's rights to
obtain records or obstructed justice.

3. Defendant denies the allegations in Sentence one of Paragraph VI

“Statement of Claim” of Plaintiff's Complaint.

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4. Defendant denies the allegation in Sentence two of Paragraph VI
“Statement of Claim” of Plaintiff’s Complaint.

5. Defendant denies the allegations in Sentence three of Paragraph VI
“Statement of Claim” of Plaintiff’s Complaint.

6. Defendant denies the allegations in Sentence four of Paragraph VI
“Statement of Claim” of Plaintiff’s Complaint.

7. Defendant denies the allegation in Sentence five of Paragraph VI
“Statement of Claim” of Plaintiff's Complaint.

7. Defendant denies the allegations in Sentence six of Paragraph VI
“Statement of Claim” of Plaintiff’s Complaint.

8. Defendant denies the allegations in Sentence seven of Paragraph VI
“Statement of Claim” of Plaintiff’s Complaint.

9. Defendant denies the allegations in Sentence eight of Paragraph VI
“Statement of Claim” of Plaintiffs Complaint.

10. Defendant denies that Plaintiff is entitled to any of the relief sought in the

“Relief” Section of Paragraph VI “Statement of Claim” of Plaintiff's Complaint.

 

IT.
AFFIRMATIVE DEFENSES
1. Defendant affirmatively pleads that Plaintiff has failed to state a claim
upon which relief can be granted.
2. Defendant affirmatively pleads that probable cause existed for the

detention and arrest of Plaintiff, and that Defendant’s actions did not violate clearly
established law of which a reasonable person would have known, and that no

deprivation of rights occurred.

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3. Defendant affirmatively pleads that, on the occasion in question, Plaintiff
did not suffer a constitutional injury, that Plaintiff’s alleged injury, if any, did not result
directly and only from the use of the force by Defendant, that the use of force was not
clearly excessive to the need to use force, and the use of force was objectively
reasonable.

4. Defendant affirmatively pleads that he used only the amount of force
which he reasonably believed to be immediately necessary to arrest and maintain
custody of Plaintiff, and to protect himself and others from Plaintiff’s unlawful use of
force.

5. Defendant affirmatively pleads that he is entitled to official and qualified
immunity, and affirmatively pleads that at all times he acted without malice, without an
intent to deprive Plaintiff of any legally protected rights, with a reasonable good faith
belief that his actions were lawful and proper and within and pursuant to the scope of
his discretionary authority as a police officer, and affirmatively pleads that he did not
violate clearly established law of which a reasonable person would have known.

6. Defendant affirmatively pleads that, on the occasion in question, Plaintiff's
alleged injuries, if any, resulted directly and only from Plaintiff’s own illegal actions.

7. Defendant affirmatively pleads that he acted in self-defense protecting
himself from Plaintiff's unlawful use of force.

8. Defendant affirmatively pleads that Plaintiff’s claims are barred by the
doctrines of res judicata or collateral estoppel.

9. Defendant affirmatively pleads that Plaintiff may not recover damages for

state law claims because he has been convicted of a felony, and the alleged injuries were

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sustained during the commission of the felony, and Plaintiff would not have been
injured but for the commission of the felony. Tex. Civ. Prac. & Rem. Code § 86.002(a).

Til.

JURY DEMAND
Defendant demands a trial by jury.
WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take
nothing by this suit, that all relief requested by Plaintiff be denied, that Defendant
recover all costs of suit, including attorney’s fees, and for such other relief, general or

special, at law or in equity, to which Defendant is entitled.

Respectfully submitted,
CITY ATTORNEY OF THE CITY OF DALLAS

MARK E. GOLDSTUCKER

Assistant City Attorney

State Bar of Texas No. 08104100

DETRA G. HILL

Assistant City Attorney

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by: Acted Nein

“Assistant City Attorney

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CERTIFICATE OF SERVICE
A copy of the foregoing document was served by certified mail, return receipt
requested on Keith B. Burkins, #00034256, Plaintiff Pro Se, Dallas County Jail, 500
Commerce Street, Lew Sterrett, Dallas, Texas 75202, on hel? Gay of May, 2001.

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—DETRA G. HILL

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